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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


TEXAS ASS’N FOR MONEY SERVICES
BUSINESSES (TAMSB); HIGH VALUE,
INC.; REYNOSA CASA DE CAMBIO, INC.;
NYDIA REGALADO d/b/a BEST RATE
EXCHANGE; MARIO REGALADO d/b/a
BORDER INTERNATIONAL SERVICES;
LAREDO INSURANCE SERVICES, LLC;
E.MEX. FINANCIAL SERVICES, INC.;
R&C, INC. d/b/a TEMEX MONEY
EXCHANGE; SAN ISIDRO
MULTISEVICES INC.; CRIS WIN INC. d/b/a
BROWNSVILLE CASA DE CAMBIO;
ESPRO INVESTMENT LLC d/b/a
LONESTAR MONEY EXCHANGE; AND
ARNOLDO GONZALEZ, JR.,
                                                  Civil Action No. 25-cv-344-FB
         Plaintiffs,

                         v.

PAM BONDI, in her official capacity as
Attorney General; SCOTT BESSENT, in his
official capacity as Secretary of the Treasury;
UNITED STATES DEPARTMENT OF THE
TREASURY; ANDREA GACKI, in her
official capacity as the Director of the
Financial Crimes Enforcement Network;
FINANCIAL CRIMES ENFORCEMENT
NETWORK,

       Defendants.


                       NOTICE OF FILING ADMINISTRATIVE RECORD

       Pursuant to agreement of the parties, Defendants are hereby filing the public, non-

privileged portions of the certified administrative record for the March 11, 2025 Geographic

Targeting Order that is the subject of this action. While the nonpublic information can be made
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available to the Court upon request, Defendants do not believe that is necessary in order to decide

the pending motion for a preliminary injunction.

Dated April 25, 2025                         Respectfully submitted


                                              YAAKOV ROTH
                                              Acting Assistant Attorney General

                                              STEPHEN M. ELLIOTT
                                              Assistant Director, Federal Programs Branch

                                              /s/ Amy E. Powell_____________________
                                              AMY E. POWELL
                                              Senior Trial Counsel
                                              United States Department of Justice
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                                             Counsel for Defendants
